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                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Richmond Division


STEVES AND SONS, INC.,

      Plaintiff,

V.                                           Civil Action No. 3:16-cv-545

JELD-WEN, INC.,

      Defendant.


                            MEMORANDUM OPINION


      This matter is before the Court on JELD-WEN, INC.'S RENEWED

MOTION FOR JUDGMENT AS A MATTER OF LAW AGAINST STEVES & SONS, INC.

(ECF No. 1821) (the "Motion").          For the following reasons, the

Motion will be denied.


                                BACKGROUND


      The factual and procedural background underlying this dispute

has been addressed in detail in previous opinions.                    See First

Summary   Judgment    Op.   (ECF No.   1424)    at   2-16;   Second     Summary

Judgment Op. (ECF No. 1581) at 2-3.          Thus, it is necessary only to

provide a brief summary of the history for context.

      Steves    and   Sons,    Inc.    ("Steves")     is     an     independent

manufacturer of interior molded doors, and it relies primarily on

JELD-WEN, Inc. ("JELD-WEN") to supply it with doorskins, which are

used to make the doors.        In 2012, JELD-WEN acquired CraftMaster

Manufacturing, Inc. ("CMI").       The proof about the doorskin market

before    the   acquisition,    and    the     substantial        lessening   of
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competition in the doorskin market that the acquisition caused is

set forth in the divestiture opinion.            See generally Memorandum

Opinion (EOF Nos. 1783 [redacted] and 1784 [under seal]).               That

Memorandum Opinion is incorporated herein by reference.

        In 2016, Steves filed an action against JELD-WEN alleging,

among other claims, a federal antitrust claim and several breach

of contract claims.        Those claims were tried to a jury in January

2018.     The jury returned a verdict in favor of Steves on the

antitrust and breach of contract claims.           The Motion is directed


only to the antitrust claims.^

                                    DISCUSSION


        Motions for judgment as a matter of law are governed by Fed.

R. Civ. P. 50.       The question is whether a reasonable jury has ^'a

legally sufficient evidentiary basis" to find in favor of the

nonmoving party.      Fed. R. Civ. P. 50(a).      After a jury verdict has

been returned, judgment as a matter of law shall be granted only

when    there   is   no   legally   sufficient   evidentiary   basis   for   a

reasonable jury to find in favor of the nonmoving party.                 See

Weisgram v. Marley Co., 528 U.S. 440, 453-54 (2000); Int^l Ground



     1 During discovery in this action, JELD-WEN discovered
evidence that Steves worked with former JELD-WEN employees to
obtain information from JELD-WEN that could possibly help Steves
develop a doorskin manufacturing plant.           Based on that evidence,
JELD-WEN    asserted    counterclaims     against   Steves    for
misappropriation of trade secrets.       JELD-WEN's trade secret
counterclaims were tried to a jury in May 2018. The Motion is not
directed to the verdict rendered in that trial.
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Transp. v. Mayor of Ocean City, 475 F.3d 214, 218 {4th Cir. 2007);

9B Fed. Prac. & Proc. Civ. § 2524 (3d ed.).          The Court views all

evidence in a light most favorable to the nonmoving party, drawing

all legitimate inferences in that party's favor and in support of

the jury's verdict.     Mayor of Ocean City, 475 F.3d at 218.         JELD-

WEN presents three reasons^ why judgment as a matter of law should

be entered in its favor.      They are:

      I.    JELD-WEN is entitled to judgment on Steves' antitrust

claim because the evidence presented did not allow the jury to

conclude that the 2012 acquisition caused Steves' claimed injury

or provide a legally sufficient basis for measuring damages;

      II.   JELD-WEN is entitled to judgment as a matter of law on

Steves' Section 4 antitrust claim because Steves did not prove the

required element of antitrust injury; and

      III. Steves has not established a proper antitrust market,

any injury to competition, or that any competitive harms outweighed

the efficiencies from the acquisition.

      Each will be considered in turn.




     2 JELD-WEN, INC.'S MEMORANDUM IN SUPPORT OF ITS RENEWED MOTION
FOR JUDGMENT AS A MATTER OF LAW (EOF No. 1822) at i (Table of
Contents).
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I.    Steves Proved that the 2012 Acquisition of CMI Caused Steves'
      Claimed Injury and Provided a Legally Sufficient Basis for
      Measuring the Damages Sought by Steves

      The ORDER {EOF No. 1042), by denying the arguments presented

by JELD-WEN in JELD-WEN, INC.'S MOTION FOR JUDGMENT AS A MATTER OF

LAW AGAINST STEVES & SONS, INC. (EOF No. 968), held that: (1)

Steves had presented sufficient evidence from which a jury could

find that the acquisition of CMI in 2012 by JELD-WEN caused the

injuries asserted by Steves; and (2) Steves' evidence had provided

a    legally    sufficient    basis   for    measuring   damages.     Having

considered the entire record and the briefs addressed to the Motion

on the resurrection of that argument, the Court remains of the

view that Steves' proved both antitrust injury and its damages by

a preponderance of the evidence.

       Steves presented substantial evidence that JELD-WEN doorskin

prices increased after the merger, which included prices charged

to   Steves.3      Steves    also   showed   convincingly   that    JELD-WEN,

Masonite, and      CMI   competed     aggressively for    Steves'   business

before the merger'' and that the pre-merger competition ended after

the merger.5      Additionally, Steves proved that JELD-WEN's price



       3 MEMOFU\NDUM IN OPPOSITION TO JELD-WEN, INC.'S RENEWED MOTION
FOR JUDGMENT AS A MATTER OF LAW (hereinafter ''Steves' Opposition
at     ") (EOF No. 1834) at 3 & n.2.

       '' Steves' Opposition at 3 & n.2.

       ^ Steves' Opposition at 3 & n.3.
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increases     were   not    caused    by   higher    costs     or    by   capacity

shortages.®      The evidence offered by Steves included internal

documents     showing      that    JELD-WEN    fully     understood       how    the

acquisition    had    given   it     significant     market    power      over   its

customers.^    In a memorandum from Onex, the investment bank that

owned JELD-WEN, Onex observed that the "acquisition of CMI made

[JELD-WEN] and Masonite the only two manufacturers of [doorskins]

in North America, which over time will improve our pricing power."

PTX-206 at ONEX66413. An email exchange between JELD-WEN officials

explained that, after the merger, JELD-WEN's customers had "few

options."     PTX-250.

      JELD-WEN   contends     that    Steves   did     not   offer   evidence      of

doorskin prices that it would have paid or the reimbursements that

it would have received "but-for" the 2001 acquisition of CMI.                    That

is incorrect.        Professor Shapiro analyzed the way competition

worked before the merger to identify a baseline against which the

observed effects in the market could be judged.               He explained fully

how competition had occurred in the market before the merger,

including price competition among JELD-WEN, CMI, and Masonite.




      ® Steves' Opposition at 3 & ns. 4 and 5

        Steves' Opposition at 3.
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      Professor Shapiro then explained JELD-WEN's acquisition of

CMI had affected competition.       He began by analyzing the relevant

market shares and market concentration information traditionally

used by economists to compare the actual world (the world with the

merger) to the ^'but-for" world (the world without the merger).

Trial Tr.    2390:17-2391:4    (ECF No.   1036).     He    opined   that the

merger's    effects   on   market   shares   and   market     concentration

provided the strong prediction that merger would likely lessen

competition substantially. Trial Tr. 934:15-935:5 (ECF No. 1031).

      Professor Shapiro then explained how, after the merger, JELD-

WEN had raised doorskin prices for all of its customers, including

Steves.     Trial Tr. 940:6-941:25, 945:14-94 6:14 (ECF No. 1031)

He noted that, even though JELD-WEN had a contract with Steves to

set doorskin prices for the future, JELD-WEN sought to re-negotiate

the agreement to obtain a higher price. Trial Tr. 951:9-951:22

(ECF No. 1031); then, it unilaterally imposed price increases

inconsistent with the terms of the contract.              Trial Tr. 954:18-

957:7 (ECF No.      1031).    Additionally,    JELD-WEN     terminated the

agreement when Steves refused to give in to JELD-WEN's demand for

additional price increases, the so-called ^^charge."                Trial Tr.

953:11-954:3 (ECF No. 1031).




      ® There was substantial evidence of JELD-WEN's price increases
to its doorskin customers.
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      Professor Shapiro then ruled out other plausible explanations

for JELD-WEN's price increases.         In so doing, he looked to see

whether there were factors other than the merger that might have

caused JELD-WEN's doorskin prices to increase, considering first

whether the increases might have resulted from an increase in JELD-

WEN's costs.     Trial Tr. 973:11-977:23 (ECF No. 1031).        JELD-WEN's

costs, however, had decreased and therefore provided no basis for

JELD-WEN's     increased   prices.     Id.      Professor   Shapiro    then

considered whether increased demand for doorskins had caused the

increases in JELD-WEN's prices but found that there was no such

explanation. Professor Shapiro then confirmed that he had compared

JELD-WEN's    pre-merger   prices    with    its post-merger    prices to

determine whether the difference was attributable to the loss of

competition caused by the merger or to some other factor and
concluded that, in fact, the merger was the cause of the higher

prices.    Id.   Thus, Steves proved, by substantial evidence, that

it paid a higher price than it would have paid absent the antitrust
violation.


      JELD-WEN offered counter evidence, but the jury rejected it.

And, the Court is fully satisfied that the jury had a legally

sufficient evidentiary basis to find in favor of Steves on this

issue.


      Steves also put in substantial evidence that, as a consequence

of the merger by which JELD-WEN eliminated CMI has a competitor.
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JELD-WEN was able to reduce the quality of its doorskins and to

reverse its previous favorable reimbursement policy, imposing in

its stead a "hard line" approach to dealing with Steves' claims

for   reimbursement    for   defective    doorskins.      Steves   offered

evidence that, before the merger, the quality of doorskins provided

under the Supply Agreement was "really pretty good" and was "very

consistent."     Trial Tr. 520:17-24 (ECF No. 1028).           And, Steves

showed that it experienced few quality issues with Craftsman doors.

JELD-WEN's key witness on this issue, Steven Fancher, observed, in

a 2013 email, that after the merger, doorskins from all plants,

including the Towanda plant that was acquired from CMI, were subpar

and that "[t]hings [we]re really different from the CMI days."

PTX-234; Trial Tr. 188:1-2 (ECF No. 1027).              In fact, Fancher

reported that all the independent doorskin manufacturers (of which
Steves is one) "[we]re bitching."        PTX-234; Trial Tr. 188:2 (ECF

No. 1027).    Moreover, Steves proved that, before the merger, JELD-

WEN had honored most of Steves' claims for defective doorskins and

had   acted promptly to give Steves credit for the defective

doorskins.     However, after the merger, JELD-WEN became much more

stringent in refusing to grant Steves' credit for defective

doorskins, imposing onerous conditions that made it so costly for

Steves to pursue claims for defective doorskins that it made no

economic sense for Steves to assert those claims.            In so doing,

JELD-WEN's     new   reimbursement   strategy    effectively    eliminated

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reimbursements, which, before the merger, had been a necessary

part of competition.

      JELD-WEN offered evidence that quality did not decrease after

the merger and that reduction in quality was not merger related.

However, the jury was entitled to accept the evidence offered by

Steves both as to the declining quality and the fact that the

merger caused the decline.

      JELD-WEN asserts that the evidence proved that JELD-WEN's

acquisition of CMI did not injure Steves. That argument is largely

based on the notion that the anticompetitive effects did not

manifest themselves immediately after the merger.             However, JELD-

WEN   cites    no   case   holding   that   anticompetitive    effects   must

manifest themselves immediately in order to be legally cognizable

as the basis for a claim of substantial lessening of competition.

Nor could the Court locate such authority.

      In any event, the jury was free to conclude that, as Professor

Shapiro testified and as JELD-WEN's own internal evidence showed,

the merger gave JELD-WEN additional pricing power, and JELD-WEN

took some time before exercising that power.            Indeed, Onex, the

owner of JELD-WEN, clearly made the point that it would take time

to improve pricing power. And, there is substantial evidence that

that is exactly happened.

      In a related argument, JELD-WEN argues that its negotiating

position      with Steves before the merger-in connection to the
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parties' 2003 Supply Agreement-was the same as it was after the

merger—in       connection   with   the    2012   Supply   Agreement.   That

negotiation involved an attempt by JELD-WEN to obtain higher prices

for so-called '"CARB-compliant" doorskins.            Considering Professor

Shaprio's analysis-which showed that before the merger, JELD-WEN

was unable to force Steves to pay the increased prices on CARB-

compliant doorskins because Steves moved its business to CMI and

Masonite—the jury was entitled to give no weight to JELD-WEN's

position on that point.

      Also, the evidence quite clearly showed that, after the

merger, JELD-WEN began to charge higher prices for the Madison and

Monroe doorskins (important styles to Steves) and that Steves had

no choice but to submit to the higher pricing.              So, in fact, the

argument by JELD-WEN that its pricing of CARB-compliant doorskins
before the merger undermines JELD-WEN's position on the issue.

And, it was reasonable for the jury to have viewed this evidence

as supporting Steves' contention that the merger gave JELD-WEN

pricing power and the ability to impose price increases.

      JELD-WEN next argues that the jury could not reasonably find

that the merger caused issues with the doorskin quality because

the issues had begun before JELD-WEN acquired CMI.                To support

 that argument, JELD-WEN points to the testimony of Sam Steves that

 there   were    ^^some issues" in    June and     July 2012 (pre-merger).

 However, Steves also presented evidence about the significant

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post-merger downturn in quality and the imposition of stricter and

more limited reimbursement policies.                        The jury was entitled to

accept that evidence and reject the counter-theory offered by JELD-

WEN.


       As the final aspect of the deficiency of the evidence about

Steves'      antitrust      injury,        JELD-WEN        argues    that    Masonite       had

stopped      selling       doorskins       to   Steves      months     before      the    2012

acquisition.         However, Masonite's CEO, Fred Lynch, testified that

Masonite did not cut off supply to Steves in 2012 and that

negotiations between Steves and Masonite ended because Steves

decided to sign a long-term contract with JELD-WEN.

       The record also shows that, before the merger, Masonite sought

to secure Steves' business and had been in competition with JELD-

WEN    and   CMI     for    that    business,        but    Masonite      had   refused      to

negotiate for a long-term supply agreement after the merger.                                 Of

course, before the merger there were three suppliers: Masonite,

JELD-WEN,      and    CMI.         After    the      merger,      there     were   only two

suppliers, and the record shows that there is virtually no

significant        competition       between         the    two     surviving      entities,

Masonite and JELD-WEN.               The jury was entitled to rely on the

evidence      to   conclude        that    Masonite's        behavior       towards      Steves

changed as a result of the elimination of CMI as a competitive

alternative        source    from    which      Steves      could    acquire       supply    of

 doorskins.


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      The next component of JELD-WEN's argument is that Steves could

not provide a legally sufficient basis for measuring damages.

Steves asserted damages that were caused by JELD-WEN's high prices.

The testimony of Professor Shapiro established that the Supply

Agreement was a reasonable baseline against which to measure pre-

merger prices because his testimony established that the Supply

Agreement was a product of pre-merger competition and that the

merger caused price increases and that other explanations (such as

increased demands or costs) did not explain those price increases.

It was therefore reasonable for the jury to conclude that Steves

would not have incurred higher prices absent the merger.

      Mr. Avram Tucker was the expert who provided the calculation

of Steves' damages. His testimony established that the calculation

was made in accord with standard and accepted methods and was based

on the proofs in the case.        JELD-WEN chose not to offer evidence

of that sort and thus it did not provide its own calculation.

Having made that decision, JELD-WEN must bear the consequences of

failing to give the jury an alternative form of evidence from which

to choose.


      The evidence also established that JELD-WEN's reduced quality

and   the   change in its reimbursement policy (changing from a

customer-friendly policy of granting most of Steves' claims to a

very strict policy) were caused by the merger.          Tucker calculated

the value of the reimbursement claims made by Steves that JELD-

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WEN refused to accept.      The jury was entitled to conclude from the

evidence that was presented that, absent the merger, JELD-WEN would

have continued to honor reimbursement claims as it had before in

order to maintain customer good will, which was the reason for the

initial lenient policy to begin with.®

      JELD-WEN next seeks judgment as a matter of law on Steves'

claim for future loss profits.        On that theory, Steves presented

persuasive      evidence    that,     as   a    result     of   JELD-WEN's

anticompetitive acquisition of CMI, Steves would go out of business

in 2021.     And, the jury accepted that evidence and awarded future

lost profits based on the estimates that had been provided by Mr.

Tucker.    In the Motion, JELD-WEN makes the same arguments that it

 made when it presented its Motion for Judgment as a Matter of Law

(EOF No. 968) earlier, and the Court has already decided the issue

 in denying that motion.       See Memorandum Opinion (EOF No. 1042).
 Mr. Tucker provided proof that Steves stood to lose $46,480,581.00
 in profits from the termination of the contract in 2021 through


       ® JELD-WEN erroneously contends that the decision to set aside
 the jury's verdict with respect to quality related breach of
 contract damages—through JELD-WEN's reimbursements for defective
 doorskins and for doors incorporating defective doorskins, which
 is set out in a prior Memorandum Opinion (EOF No. 1773)-
 necessitates setting aside the verdict with respect to the quality
 related antitrust damages.      However, the Memorandum Opinion
 setting aside the verdict with respect to the contract damages was
 based on the finding that Steves had not proved a breach of
 contract where the quality related antitrust damages had been shown
 to be caused by the merger. And that ground is not a proper one
 for setting aside the antitrust verdict.
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2029.     Trial   Tr.    1209:14-1211:10      (ECF    No.   1032).        JELD-WEN's

principal attack seems to be that Mr. Tucker failed to reduce his

projections of Steves' future lost profits by backing out the

effect of the merger.         However, that argument is presented only in

a general sense, and JELD-WEN does not point to what it believes

Mr. Tucker failed to take into account or why Mr. Tucker should

have taken those effects into account.               Here too, JELD-WEN had an

opportunity to present expert evidence at trial on this point.                    It

did not do so.        It cannot now make an argument when it failed to

offer evidence at trial.




        10 If JELD-WEN's argument on this point is that there were
 higher prices in the doors market caused by the merger and that
Steves therefore earned higher profits from 2015 through 2017 and
that Tucker should have accounted for those higher profits in his
projections, the argument is an invalid one.                        Indeed, it is
directly foreclosed by Hanover Shoe, Inc. v. United Shoe Machinery
Corp., 392 U.S. 481, 493-94 (1968).     See also Shoppin' Bag of
Pueblo, Inc. v. Dillon Companies, Inc., 783 F.2d 159, 165 (10th
Cir. 1986) (upholding a district court's exclusion of similar
evidence about profitability and market share under Rule 403 as
irrelevant because the presentation would have been time consuming
 and confused the issues); In re Cathode Ray Tube (CRT) Antitrust
 Litig., No. MDL 1917, 2016 WL 7800819, at *8 (N.D. Cal. Nov. 15,
 2016) (''If the evidence is irrelevant or prohibited by Hanover
 Shoe, it should be excluded."); Columbus Drywall & Insulation,
 Inc. V. Masco Corp., No. 1:04-cv-3066, 2012 WL 12540321, at *1
 (N.D.   Ga.   July     17,   2012)   (stating   that       using    an    antitrust
 plaintiff's financial information and other downstream data when
 a defendant is not asserting a pass-on defense would be "an
 impermissible    end-run      around   the    rule     announced     in     Hanover
 Shoe.").

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II.   Steves Demonstrated Cognizable Antitrust Injury

      JELD-WEN argues that Steves has not established antitrust

injury because, according to JELD-WEN, Steves has shown only

idiosyncratic harm to Steves that resulted from a breach of a

private contract.       The argument being made by JELD-WEN is the same

argument that it made in its Memorandum in Support of its Motion

for Partial Summary Judgment (ECF No. 376), and it cites the same

decisional law as recited in that memorandum.                       That argument was

rejected.        Memorandum Opinion (ECF No. 976) at 18-24.                Nothing has

changed since then except that Steves has proved the injury.                        And,

as was true in arguing for partial summary judgment, JELD-WEN

^^mischaracterizes       Steves'     Section          4    claim    and   ignores    key

differences between this case and those cited by JELD-WEN."                          Id.

at 19.     And, as the Court previously has held, ^'contractual harm

 can still constitute antitrust injury even if the parties' actions

 are bound by a contract."          Id.

      That is especially true where "the anticompetitive activity"

 injures    competition      that     still       exists          notwithstanding    the

 contractual agreement. See id. at 19-20. And, Steves introduced

 evidence showing that the merger injured competition that still

 existed notwithstanding the contract.                    See id. at 19-20; see also

 Trial     Tr.     696:7-696:22     (ECF        No.       1029)    (discussing      these

 contractual provisions); PTX-149.                Further, JELD-WEN erroneously

 argues that other market participants were unaffected by the

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anticompetitive effects of the merger.        The evidence quite clearly

showed, for example, that JELD-WEN increased doorskin prices to

other doorskin customers, such as Excel, ABS, and Unidoor, and did

so to an even greater extent than it raised prices to Steves.          That

those customers did not have supply agreements pre-dating the

merger does not diminish the effect of the evidence that JELD-WEN

raised prices.

Ill. Steves Established a Relevant Antitrust Market

      To begin, JELD-WEN contends that Steves did not properly

define a relevant geographic market because Professor Shapiro did

not include foreign doorskin suppliers in his analysis of relevant

market participants.      That position is wrong.       Professor Shapiro

agreed that the market shares of foreign suppliers who sell

doorskins in the United States should be included.               Trial Tr.

1005:15-1005:19 (ECF No. 1031).           However, as Professor Shapiro

testified, market shares of the foreign suppliers are nonexistent

or negligible because he did not find any evidence of meaningful

imports at the time.        Trial Tr. 1114:25-1115:5 (ECF No. 1031).

The entirety of the record established that Professor Shapiro was

 right.   Although the evidence showed that other foreign suppliers

 have indicated an interest in entering the United States market,

the record shows that none has done so in any significant way,

 even as of the time of trial.       Indeed, JELD-WEN, when making this




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argument, identified no foreign supplier whose current United

States market share was overlooked by Professor Shapiro.

      JELD-WEN then argues that the definition of product market

used in Steves' case was flawed because Steves defined the market

""as all of the doorskin designs and sizes the JELD-WEN sells to

Steves."       That is also       wrong.        Professor Shapiro defined the

product market as '"interior molded doorskins."              Trial Tr. 1005:8-

1005:9 (ECF No. 1031).          He used the "hypothetical monopolist test"

to ascertain whether buyers of interior molded doorskins would

shift       their   purchases    to   other      products   in   response   to    a

nontransitory price increase of at least five percent in interior

molded doorskins.        Trial Tr. 1006:7-1007:23 {ECF No. 1031).                In

that analysis, he considered direct evidence of actual price

competition resulting in price decreases of at least five percent,

id.; he also considered the so-called "recapture analysis" that

asks whether, when one manufacturer of interior molded doorskins

raises its prices, purchasers shift to a different manufacturer of

that same product.        Id.    He also applied the "critical elasticity

analysis," which asks how much a price increase of all interior

molded      doorskins   would    reduce    customers'   purchases    of certain

products.       Id.   In each instance. Professor Shapiro expressed the

opinion that it was not a close call that interior molded doorskins

are     a    properly    defined      relevant      antitrust    market.         Id.



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Significantly,     JELD-WEN's     expert,   Professor   Snyder,    did    not

dispute that conclusion.        Trial Tr. 1007:24-1008:1 (ECF No. 1031).

      Nor in the Motion papers has JELD-WEN identified any evidence

that it offered at trial to refute the product market defined by

Professor Shapiro.        And,   JELD-WEN   (even in the Motion) never

actually defines what it thinks should be the relevant product

market, implying instead that "each size and style of doorskin is

a separate relevant market."         That, however, is wrong because it

is settled that a single market can encompass a number of different

products or services where the combination reflects commercial

realties.     United   States    v. Grinnell Corp., 384      U.S. 563, 572

(1966); see also, e.g.. Brown Shoe Co. v. United States, 370 U.S.

294, 326 (1962); Image Tech. Servs. v. Eastman Kodak Co., 125 F.3d

1195, 1204 (9th Cir. 1997); FTC v. Sysco Corp., 113 F. Supp. 3d 1,

26 (D.D.C. 2015).       Those authorities all disprove the implicit

assertion made by JELD-WEN in its argument that a product market

was not properly defined.

      As part of its last argument, JELD-WEN often says that the

evidence shows that foreign doorskin suppliers and Masonite are

potential sources of doorskins for Steves and others and that the

jury's decision to the contrary was against the weight of the

evidence.      Those   contentions    invite   the   Court   to   weigh   the

evidence, which, of course, cannot be done.          Jacobs v. N.C. Admin.

Office of the Courts, 780 F.3d 562, 569 (4th Cir. 2015).

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      Moreover, Steves introduced substantial evidence that, after

the merger, Masonite withdrew from the market except in a very

limited fashion.         The evidence also showed that neither Masonite

nor Teverpan nor any other foreign suppliers are viable alternative

suppliers of doorskins to Steves or anyone else in the United

States market.          Business documents from around the time of the

merger and thereafter showed the inadequacy of foreign suppliers

and   Masonite     as    alternative      sources     of   doorskins.      The   Court

reached     the   same    conclusion      in    the   divestiture    opinion.      See

Memorandum Opinion (EOF Nos. 1783 [redacted] and 1784 [under seal])

at 73.11


      As part of the last argument, JELD-WEN argues that the jury

did not hear any evidence that would allow it to conclude that any

anticompetitive          effects     of   the     acquisition       outweighed     its

efficiencies.      But, JELD-WEN was permitted to present any evidence

respecting the purported deficiencies generated by its acquisition

of CMI. And it did present such evidence.                   That evidence, however,

did   not    convince      the     jury   that    the      merger   did   not    lessen

competition substantially.            As the Court has previously held and




      11 What is more, when arguing the issue of divestiture, JELD-
WEN itself argued that neither foreign suppliers nor Masonite could
make up for the loss of supply to its internal customers and
external customers that JELD-WEN would sustain if divestiture were
ordered. Under those circumstances, and on the basis of the entire
record, it does not lie in the mouth of JELD-WEN to make a contrary
assertion.

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as   JELD-WEN    itself    has   acknowledged,    the   possibility    that

potential efficiencies outweighed the anticompetitive effects is

part of the defendant's rebuttal to the plaintiff's prima facie

case.     See JELD-WEN, Inc.'s Memorandum Regarding Efficiencies (ECF

No. 865), at 2-3 (stating that whether an acquisition led to

potential efficiencies is "an appropriate part of the defendant's

rebuttal to the plaintiff's prima facie case—one way, among others,

for the defendant to show that the concentration statistics alone

do not tell the full story of an acquisition's likely effects"

(emphasis added)).        The decisional law is quite clear on that

 point.    United States v. Anthem, Inc., 855 F.Sd 345, 354-55 (D.C.

Cir. 2017); FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 347

 (3d Cir. 2016); St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke's

 Health Sys., Ltd., 778 F.Sd 775, 790-91 (9th Cir. 2015); FTC v.

 Univ. Health, Inc., 938 F.2d 1206, 1222 (11th Cir. 1991).            It was

 then JELD-WEN, not Steves, that had the burden on this issue, and

 the jury quite clearly concluded that JELD-WEN failed to meet its
 burden.    Moreover, Steves presented significant evidence that the

 merger had actually resulted in higher prices and lower quality
 goods and that the merger actually reduced competition.           The jury
 was free to accept the evidence offered by Steves and to reject




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the positions put forward by JELD-WEN on the efficiencies issue.

It did so.12

                                CONCLUSION


      For the foregoing reasons, JELD-WEN, INC.'S RENEWED MOTION

FOR JUDGMENT AS A MATTER OF LAW AGAINST STEVES & SONS, INC. (EOF

No. 1821) will be denied.

                                                /s/
                              Robert E. Payne
                              Senior United States District Judge

 Richmond, Virginia
 Date: March     , 2019




       12 Nor did    JELD-WEN   meet the    burden    of proving that its
 asserted efficiencies benefited the customers in any meaningful
 way by way of lower prices or improved competition.          And, indeed,
 JELD-WEN made no serious effort to present such a case.
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